Case 20-12465-JKS          Doc 220     Filed 07/15/20 Entered 07/15/20 17:07:41                    Desc Main
                                      Document     Page 1 of 14



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

McMANIMON, SCOTLAND & BAUMANN, LLC
75 Livingston Avenue, Second Floor
Roseland, New Jersey 07068
(973) 622-1800
Anthony Sodono, III (asodono@msbnj.com)
Thomas M. Walsh (twalsh@msbnj.com)
Sari B. Placona (splacona@msbnj.com)
Counsel for Debtors and Debtors-in-Possession


In re:                                                          Chapter 11

HAJJAR BUSINESS HOLDINGS, LLC, et al., 1                        Case No. 20-12465 (JKS)
                                                                (Jointly Administered)
                                  Debtors.


                                    CERTIFICATION OF SERVICE

1.       I, LISA DiPAOLO,

                 am a legal assistant employed by McManimon, Scotland & Baumann, counsel for

                     the Debtors and Debtors-in-Possession in the above-captioned matter.




1
  The Debtors in these chapter 11 cases, along with their case numbers and the last four digits of each Debtor’s
taxpayer identification number are as follows: Hajjar Medical Office Building of Wayne, LLC (2608) (Case No. 20-
12464-JKS); Hajjar Business Holdings, LLC (9371) (Case No. 20-12465-JKS); Hajjar Medical Office Building of
Roseland, LLC (0506) (Case No. 20-12466-JKS); Hajjar Medical Building of Carlstadt, LLC (9831) (Case No. 20-
12467-JKS); Hajjar Medical Office Building of Fairlawn, LLC (8256) (Case No. 20-12468-JKS); Hajjar Medical
Office Building of Glen Rock, LLC (2638) (Case No. 20-12469-JKS); Hajjar Medical Office Building, LLC (6934)
(Case No. 20-12470-JKS); Hajjar Medical Office Building of Hackensack, LLC (4021) (Case No. 20-12471-JKS);
Hajjar Medical Office Building of Jersey City, LLC (6457) (Case No. 20-12472-JKS); Hajjar Warehouse of
Hackensack, LLC (0093) (Case No. 20-12473-JKS); Hajjar Medical Office Building of Mount Kisco, LLC (0290)
(Case No. 20-12474-JKS); Hajjar Office Building of Miramar, LLC (9467) (Case No. 20-12475-JKS); and Hajjar
Medical Office Building of New Brunswick, LLC (6376) (Case No. 20-12476-JKS); HMOB of Mt. Kisco Owner,
LLC (8251) (Case No.20-12540-JKS); HMOB of New Brunswick Owner, LLC (8560) (Case No. 20-12549-JKS);
HMOB of Roseland Owner, LLC (xxxx) (Case No. 20-12552-JKS); HMOB of Jersey City Owner, LLC (8644)
(Case No. 20-12557-JKS); HMOB of Carlstadt Owner, LLC (8378) (Case No. 20-12553-JKS); HMOB of Fair
Lawn 15-01 Broadway Owner, LLC (xxxx) (Case No. 20-12536-JKS); HMOB of Fair Lawn Owner, LLC (0822)
(Case No. 20-12547-JKS); HMOB of Glen Rock Owner, LLC (4671) (Case No. 20-12545-JKS); HMOB of
Hackensack Office Owner, LLC (8445) (Case No. 20-12555-JKS); HMOB of Hackensack Warehouse Owner, LLC
(3721) (Case No. 20-12556-JKS); HMOB of Miramar Owner, LLC (9467) (Case No. 20-12543-JKS); HMOB of
Oradell Owner, LLC (4779) (Case No. 20-12551-JKS); HMOB of Wayne Owner, LLC (9177) (Case No. 20-12550-
JKS)
Case 20-12465-JKS          Doc 220     Filed 07/15/20 Entered 07/15/20 17:07:41                Desc Main
                                      Document     Page 2 of 14


2.       On July 9, 2020, a copy of the following pleadings and/or documents was sent to the parties in the

         manner listed in the chart below:

              a) Motion of HMOB Wayne Owner, LLC and Hajjar Medical Office Building of Wayne,
                 LLC for Order (i)(a) Approving St. Joseph’s University Medical Center, Inc. as
                 Stalking Horse Bidder; (b) Approving the Bidding Procedures in Connection With the
                 Sale of the Wayne Owner Debtor’s Real Property Located at 234 Hamburg Turnpike,
                 Wayne, New Jersey; (c) Approving the Form and Manner of Notice of Sale and
                 Bidding Procedures; and (d) Setting the Hearing Date in Connection Therewith; and
                 (ii) Authorizing the Debtors to (a) Sell the Real Property Free and Clear of All Liens,
                 Claims and Encumbrances Pursuant to 11 U.S.C. §363(b), (f) and (m) to St. Joseph’s;
                 (b) for a Carve-Out Pursuant to 11 U.S.C. §506(c) and Payment of Professional Fees;
                 (c) Assumption and Assignment of All Pre-Petition Leases Pursuant to 11 U.S.C.
                 §365, Except for the Lease for Suite 1-100, Which is Being Rejected Pursuant to 11
                 U.S.C. §365; and (d) Granting Related Relief (the “Motion”);

              b) Memorandum of Law in Support of Motion;

              c) Certification of Dr. John Hajjar in Support of Motion;

              d) Proposed form of Order Approving Bidding Procedures;

              e) Proposed form of Order Authorizing Sale;

              f) Order Shortening Time for Hearing on Motion, which was entered by the Honorable John
                 K. Sherwood, United States Bankruptcy Judge, on July 9, 2020 (the “Order Shortening
                 Time”); and

              3. Application in Support of Entry of Order Shortening Time.

4.       I certify under penalty of perjury that the above documents were sent using the mode of service

         indicated.


Dated: July 15, 2020                                      /s/ Lisa DiPaolo
                                                          LISA DiPAOLO




                                                     2
4819-2383-7123, v. 1
Case 20-12465-JKS           Doc 220     Filed 07/15/20 Entered 07/15/20 17:07:41              Desc Main
                                       Document     Page 3 of 14



 Name and Address of Party Served              Relationship of Party to the Case       Mode of Service

 Fran B. Steele, Esq.                                                                   Hand-delivered
 Office of the United States Trustee                                                    Regular mail
 One Newark Center, Ste. 2100                                                           Certified Mail
 Newark, NJ 07102                                                                       Other: E-Mail

 David R. Augustin, Esq.                       Attorneys for Wilmington Trust,          Hand-delivered
 Duane Morris LLP                              National Association                     Regular mail
 One Riverfront Plaza                                                                   Certified Mail
 1037 Raymond Blvd., Ste. 1800                                                          Other: E-Mail
 Newark, NJ 07102-5429

 Kathleen M. Mylod, Esq.                       Attorneys for MSC – Regent HMOB  Hand-delivered
 Shipman & Goodwin, LLP                        HoldCo, Inc.                     Regular mail
 One Constitution Plaza                                                         Certified Mail
 Hartford, CT 06103-1919                                                        Other: E-Mail

 Koren Blair, Esq.                             Attorneys for Mezzanine Loan             Hand-delivered
 Howard P. Magaliff, Esq.                      Lender                                   Regular mail
 Rich Michaelson Magaliff, LLP                                                          Certified Mail
 335 Madison Avenue, 9th Fl.                                                            Other: E-Mail
 New York, NY 10017

 Sommer L. Ross, Esq.                          Attorneys for Wilmington Trust,        Hand-delivered
 Duane Morris LLP                              National Association, as Trustee for  Regular mail
 222 Delaware Avenue, Ste. 1600                the Benefit of the Registered Holders  Certified Mail
 Wilmington, DE 19801                          of Wells Fargo Commercial              Other: E-Mail
                                               Mortgage Trust 2016-C34,
                                               Commercial Mortgage Pass-Through
                                               Certificates Series 2106-C34

 Lawrence J. Kotler, Esq.                      Attorneys for Wilmington Trust,          Hand-delivered
 Duane Morris LLP                              National Association, as Trustee for     Regular mail
 30 South 17th Street                          the Benefit of the Registered Holders    Certified Mail
 Philadelphia, PA 19103-4196                   of Wells Fargo Commercial                Other: E-Mail
                                               Mortgage Trust 2016-C34,
                                               Commercial Mortgage Pass-
                                               Through Certificates Series 2106-
                                               C34

 Jonathan P. Vuotto, Esq.                      Attorneys for John C. Peterson &         Hand-delivered
 McAndrew Vuotto, LLC                          O.A. Peterson Co., Inc.; Jaecals I,      Regular mail
 13 Mt. Kemble Avenue                          LLC; Jaecals II, LLC; and Jaecals        Certified Mail
 Morristown, NJ 07960                          III, LLC                                 Other: E-Mail




                                                   3
4819-2383-7123, v. 1
Case 20-12465-JKS          Doc 220    Filed 07/15/20 Entered 07/15/20 17:07:41          Desc Main
                                     Document     Page 4 of 14



 Name and Address of Party Served            Relationship of Party to the Case   Mode of Service

 Richard L. Zucker, Esq.                     Attorneys for 75 EP Associates,      Hand-delivered
 Lasser Hochman, L.L.C.                      LLC                                  Regular mail
 75 Eisenhower Parkway                                                            Certified Mail
 Roseland, NJ 07068                                                               Other: E-Mail

 Michael Antongiovanni, Esq.                 Attorneys for Sentinel Asset         Hand-delivered
 Edward J. LoBello, Esq.                     Management, Inc., as Agent for       Regular mail
 Jordan D. Weiss, Esq.                       Life Insurance Company of the        Certified Mail
 Meyer, Souzzi, English & Klein, P.C.        Southwest                            Other: E-Mail
 990 Stewart Avenue, Ste. 300
 PO Box 9194
 Garden City, NY 11530

 David M. Bass, Esq.                         Creditor                             Hand-delivered
 Cole Schotz P.C.                                                                 Regular mail
 Court Plaza North                                                                Certified Mail
 25 Main Street                                                                   Other: E-Mail
 Hackensack, NJ 07601

 Steven M. Richman, Esq.                     Attorneys for Binswanger of          Hand-delivered
 Clark Hill PLC                              Pennsylvania, Inc.                   Regular mail
 210 Carnegie Center, Ste. 102                                                    Certified Mail
 Princeton, NJ 08540                                                              Other: E-Mail

 Michael McLaughlin, Esq.                    Attorneys for National Metering      Hand-delivered
 Law Offices of Michael McLaughlin, Esq.     Services, Creditor                   Regular mail
 72 West End Avenue                                                               Certified Mail
 Somerville, NJ 08876                                                             Other: E-Mail

 Daniel M. Stolz, Esq.                       Attorneys for Patrick Dibre          Hand-delivered
 Wasserman, Jurista & Stolz, P.C.                                                 Regular mail
 110 Allen Road, Suite 304                                                        Certified Mail
 Basking Ridge, NJ 07920                                                          Other: E-Mail

 Bioc Commercial Real Estate, LLC            Combined Twenty Largest              Hand-delivered
 6 East 39th Street, Ste. 304                Unsecured Creditor With Respect      Regular mail
 New York, NY 10016                          to All Jointly-Administered          Certified Mail
                                             Debtors                              Other:
 Broward County Tax Collector                Combined Twenty Largest              Hand-delivered
 115 S. Andrews Avenue, #A100                Unsecured Creditor With Respect      Regular mail
 Fort Lauderdale, FL 33301-1895              to All Jointly-Administered          Certified Mail
                                             Debtors                              Other:
 Mark Journey, Esq.                          Combined Twenty Largest              Hand-delivered
 Broward County Attorney                     Unsecured Creditor With Respect      Regular mail
 2200 S.W. 45 Street, Ste. 101               to All Jointly-Administered          Certified Mail
 Dania Beach, FL 33312                       Debtors                              Other:




                                                 4
4819-2383-7123, v. 1
Case 20-12465-JKS            Doc 220    Filed 07/15/20 Entered 07/15/20 17:07:41          Desc Main
                                       Document     Page 5 of 14



 Name and Address of Party Served              Relationship of Party to the Case   Mode of Service

 Stacy Wulfekuhle, Paralegal                   Combined Twenty Largest              Hand-delivered
 Broward County Attorney’s Office              Unsecured Creditor With Respect      Regular mail
 2200 S.W. 45 Street, Ste. 101                 to All Jointly-Administered          Certified Mail
 Dania Beach, FL 33312                         Debtors                              Other:

 CNA                                           Combined Twenty Largest              Hand-delivered
 53 State Street, Ste. 510                     Unsecured Creditor With Respect      Regular mail
 Boston, MA 02109                              to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 CNA                                           Combined Twenty Largest              Hand-delivered
 PO Box 842060                                 Unsecured Creditor With Respect      Regular mail
 Boston, MA 02284-2060                         to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 Cohn Reznick LLP                              Combined Twenty Largest              Hand-delivered
 1301 Avenue of the Americas                   Unsecured Creditor With Respect      Regular mail
 New York, NY 10019                            to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 Constellation New Energy, Inc.                Combined Twenty Largest              Hand-delivered
 1310 Point Street, 12th Fl.                   Unsecured Creditor With Respect      Regular mail
 Baltimore, MD 21231                           to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 Corporation Services Company                  Combined Twenty Largest              Hand-delivered
 Headquarters                                  Unsecured Creditor With Respect      Regular mail
 251 Little Falls Drive                        to All Jointly-Administered          Certified Mail
 Wilmington, DE 19808                          Debtors                              Other:

 Corporation Service Company                   Combined Twenty Largest              Hand-delivered
 PO Box 13397                                  Unsecured Creditor With Respect      Regular mail
 Philadelphia, PA 19101-3397                   to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 City of Jersey City                           Combined Twenty Largest              Hand-delivered
 280 Grove Street                              Unsecured Creditor With Respect      Regular mail
 Jersey City, NJ 07303                         to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 Peter Baker, Esq.                             Combined Twenty Largest              Hand-delivered
 City of Jersey City                           Unsecured Creditor With Respect      Regular mail
 280 Grove Street                              to All Jointly-Administered          Certified Mail
 Jersey City, NJ 07302                         Debtors                              Other:
 Land V-Scape, Inc.                            Combined Twenty Largest              Hand-delivered
 PO Box 290                                    Unsecured Creditor With Respect      Regular mail
 Lincolndale, NY 10536-0290                    to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:
 MG’s Lawn Green, Inc.                         Combined Twenty Largest              Hand-delivered
 85 Woodland Road                              Unsecured Creditor With Respect      Regular mail
 Pleasantville, NY 10570                       to All Jointly-Administered          Certified Mail
                                               Debtors                              Other:




                                                   5
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220     Filed 07/15/20 Entered 07/15/20 17:07:41           Desc Main
                                     Document     Page 6 of 14



 Name and Address of Party Served             Relationship of Party to the Case   Mode of Service

 MG’s Lawn Green, Inc.                        Combined Twenty Largest              Hand-delivered
 c/o Jasco Recovery Services, LLC, Assignee   Unsecured Creditor With Respect      Regular mail
 PO Box 324                                   to All Jointly-Administered          Certified Mail
 Tuckahoe, NY 10707                           Debtors                              Other:

 New Brunswick, City of                       Combined Twenty Largest              Hand-delivered
 Water Utility – Division of Inspections      Unsecured Creditor With Respect      Regular mail
 City Hall                                    to All Jointly-Administered          Certified Mail
 78 Bayard Street                             Debtors                              Other:
 New Brunswick, NJ 08901

 Pagano Company                               Combined Twenty Largest              Hand-delivered
 55 Harristown Road, Ste. 301                 Unsecured Creditor With Respect      Regular mail
 Glen Rock, NJ 07452                          to All Jointly-Administered          Certified Mail
                                              Debtors                              Other:
 PSE&G                                        Combined Twenty Largest              Hand-delivered
 Vilna Gaston, Esq.                           Unsecured Creditor With Respect      Regular mail
 80 Park Plaza                                to All Jointly-Administered          Certified Mail
 Newark, NJ 07102-4109                        Debtors                              Other:
 PSE&G                                        Combined Twenty Largest              Hand-delivered
 Attn: Bankruptcy Department                  Unsecured Creditor                   Regular mail
 P O Box 709                                                                       Certified Mail
 Newark NJ 07104-0709                                                              Other:

 Paul M. Elias, Esq.                          Attorneys for South Bedford          Hand-delivered
 Bittiger Elias & Triolo P.C.                 Oral/Maxillofacial Surgery,          Regular mail
 12 Route 17 North, Ste. 206                  Combined Twenty Largest              Certified Mail
 Paramus, NJ 07652                            Unsecured Creditor With Respect      Other: E-Mail
                                              to All Jointly-Administered
                                              Debtors
 Oasis Medical and Surgical Wellness Group,   Combined Twenty Largest              Hand-delivered
 LLC                                          Unsecured Creditor With Respect      Regular mail
 85 Harristown Road, Suite 1-300              to All Jointly-Administered          Certified Mail
 Glen Rock, NJ 07452                          Debtors                              Other:

 Josef W. Mintz, Esq.                         Attorneys for New Jersey Cancer      Hand-delivered
 Blank Rome LLP                               & Blood Specialists, P.C., 20        Regular mail
 One Logan Square                             Largest Unsecured Creditor (NOA      Certified Mail
 130 North 18th Street                        filed), Combined Twenty Largest      Other: E-Mail
 Philadelphia, PA 19103-6998                  Unsecured Creditor With Respect
                                              to All Jointly-Administered
                                              Debtors

 New Century Imaging, LLC                     Combined Twenty Largest              Hand-delivered
 Attn: Joel Rakow, M.D., Managing Member      Unsecured Creditor With Respect      Regular mail
 130 Kinderkamack Road, Suite 200             to All Jointly-Administered          Certified Mail
 Oradell, NJ 07649                            Debtors                              Other:



                                                  6
4819-2383-7123, v. 1
Case 20-12465-JKS           Doc 220       Filed 07/15/20 Entered 07/15/20 17:07:41          Desc Main
                                         Document     Page 7 of 14



 Name and Address of Party Served                Relationship of Party to the Case   Mode of Service

 Jersey City Medical Center                      Combined Twenty Largest              Hand-delivered
 631-645 Grand Street                            Unsecured Creditor With Respect      Regular mail
 Suite 1-100                                     to All Jointly-Administered          Certified Mail
 Jersey City, NJ 07304                           Debtors                              Other:

 St. Peter's University Hospital, Inc.           Combined Twenty Largest              Hand-delivered
 215 Easton Avenue, Suite 1                      Unsecured Creditor With Respect      Regular mail
 New Brunswick, NJ 08901                         to All Jointly-Administered          Certified Mail
                                                 Debtors                              Other:
 Saint Peter's Healthcare System, Inc.           Combined Twenty Largest              Hand-delivered
 Attn: Michael Hockberg, M.D., COO               Unsecured Creditor With Respect      Regular mail
       Rita Jennings, Esq. - General Counsel     to All Jointly-Administered          Certified Mail
 254 Easton Avenue                               Debtors                              Other:
 New Brunswick, NJ 08901

 St. Peter's Healthcare System, Inc.             Combined Twenty Largest              Hand-delivered
 215 Easton Avenue, Suite 2                      Unsecured Creditor With Respect      Regular mail
 New Brunswick, NJ 0890                          to All Jointly-Administered          Certified Mail
                                                 Debtors                              Other:
 CareMount Medical, P.C.                         Combined Twenty Largest              Hand-delivered
 Attn: Scott D. Hayworth, M.D.-President         Unsecured Creditor With Respect      Regular mail
 110 S. Bedford Road, Suite 303                  to All Jointly-Administered          Certified Mail
 Mount Kisco, NY 10549                           Debtors                              Other:

 Eastern Door Service                            General Unsecured Creditor of        Hand-delivered
 170 Route 206, S.                               Hajjar Medical Office Building of    Regular mail
 Hillsborough, NJ 08844                          Wayne, LLC                           Certified Mail
                                                                                      Other:
 Feldman Brothers Electrical Supply Co.          General Unsecured Creditor of        Hand-delivered
 206 Maryland Avenue                             Hajjar Medical Office Building of    Regular mail
 Paterson, NJ 07503                              Wayne, LLC                           Certified Mail
                                                                                      Other:
 Interstate Waste                                General Unsecured Creditor of        Hand-delivered
 300 Frank W. Burr Boulevard                     Hajjar Medical Office Building of    Regular mail
 Teaneck, NJ 07666                               Wayne, LLC                           Certified Mail
                                                                                      Other:
 Lindabury, McCormick, Estabrook &               General Unsecured Creditor of        Hand-delivered
 Cooper                                          Hajjar Medical Office Building of    Regular mail
 53 Cardinal Drive                               Wayne, LLC                           Certified Mail
 PO Box 2369                                                                          Other:
 Westfield, NJ 07091-2369

 MD Vision CSD, LLC                              General Unsecured Creditor of        Hand-delivered
 85 Harristown Road                              Hajjar Medical Office Building of    Regular mail
 Glen Rock, NJ 07452                             Wayne, LLC                           Certified Mail
                                                                                      Other:




                                                     7
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220    Filed 07/15/20 Entered 07/15/20 17:07:41          Desc Main
                                    Document     Page 8 of 14



 Name and Address of Party Served           Relationship of Party to the Case   Mode of Service

 Miele Sanitation Co.                       General Unsecured Creditor of        Hand-delivered
 60 Railroad Avenue                         Hajjar Medical Office Building of    Regular mail
 Closter, NJ 07624                          Wayne, LLC                           Certified Mail
                                                                                 Other:
 MMB Property & Management Services,        General Unsecured Creditor of        Hand-delivered
 LLC                                        Hajjar Medical Office Building of    Regular mail
 85 Harristown Road                         Wayne, LLC                           Certified Mail
 Glen Rock, NJ 07452                                                             Other:

 New Jersey Division of Consumer Affairs    General Unsecured Creditor of        Hand-delivered
 124 Halsey Street                          Hajjar Medical Office Building of    Regular mail
 Newark, NJ 07102                           Wayne, LLC                           Certified Mail
                                                                                 Other:
 NK Architects                              General Unsecured Creditor of        Hand-delivered
 95 Washington Street                       Hajjar Medical Office Building of    Regular mail
 Morristown, NJ 07960                       Wayne, LLC                           Certified Mail
                                                                                 Other:
 Payton Elevator Company, Inc.              General Unsecured Creditor of        Hand-delivered
 15 Naugle Street                           Hajjar Medical Office Building of    Regular mail
 PO Box 508                                 Wayne, LLC                           Certified Mail
 Closter, NJ 07624-1206                                                          Other:
 Starburst Electric LLC                     General Unsecured Creditor of        Hand-delivered
 339 Merritt Avenue                         Hajjar Medical Office Building of    Regular mail
 Bergenfield, NJ 07621                      Wayne, LLC                           Certified Mail
                                                                                 Other:
 Synchrony Bank                             General Unsecured Creditor of        Hand-delivered
 c/o PRA Receivables Management             Hajjar Medical Office Building of    Regular mail
 PO Box 41021                               Wayne, LLC                           Certified Mail
 Norfolk, VA 23541-1021                                                          Other:

 ThyssenKrupp Elevator Corp.                General Unsecured Creditor of        Hand-delivered
 Attn: Accounts Receivable                  Hajjar Medical Office Building of    Regular mail
 641 NW 66th Street                         Wayne, LLC                           Certified Mail
 Miami, FL 33166                                                                 Other:

 Verizon                                    General Unsecured Creditor of        Hand-delivered
 PO Box 4833                                Hajjar Medical Office Building of    Regular mail
 Trenton, NJ 08650-4833                     Wayne, LLC                           Certified Mail
                                                                                 Other:
 Viking Pest Control                        General Unsecured Creditor of        Hand-delivered
 97 Parish Drive                            Hajjar Medical Office Building of    Regular mail
 Wayne, NJ 07470                            Wayne, LLC                           Certified Mail
                                                                                 Other:
 Township of Wayne                          General Unsecured Creditor of        Hand-delivered
 Fire Bureau                                Hajjar Medical Office Building of    Regular mail
 475 Valley Road                            Wayne, LLC                           Certified Mail
 Wayne, NJ 07470                                                                 Other:



                                                8
4819-2383-7123, v. 1
Case 20-12465-JKS          Doc 220    Filed 07/15/20 Entered 07/15/20 17:07:41          Desc Main
                                     Document     Page 9 of 14



 Name and Address of Party Served            Relationship of Party to the Case   Mode of Service

 State of New Jersey                         Tax Authority                        Hand-delivered
 Division of Taxation                                                             Regular mail
 Attn: Bulk Sale Section                                                          Certified Mail
 PO Box 245                                                                       Other:
 Trenton, NJ 08695-0245

 Wayne Tax Collector                         Notice on behalf of Township of      Hand-delivered
 Town Hall                                   Wayne                                Regular mail
 475 Valley Road                                                                  Certified Mail
 Wayne, NJ 07470                                                                  Other:

 Township of Wayne                           Notice on behalf of Township of      Hand-delivered
 Attn: Matthew J. Giacobbe,                  Wayne                                Regular mail
       Township Attorney                                                          Certified Mail
 Town Hall                                                                        Other:
 475 Valley Road
 Wayne, NJ 07470

 Jeffrey T. Testa, Esq.                      Attorneys for St. Joseph’s Regional  Hand-delivered
 McCarter & English,                         Medical Center, Purchaser            Regular mail
 Four Gateway Center                                                              Certified Mail
 100 Mulberry Street                                                              Other: E-Mail
 Newark, NJ 07102

 Internal Revenue Service                    Tax Authority                        Hand-delivered
 PO Box 7346                                                                      Regular mail
 Philadelphia, PA 19101-7346                                                      Certified Mail
                                                                                  Other:
 United States Attorney                      Tax Authority                        Hand-delivered
 Peter Rodino Federal Building                                                    Regular mail
 970 Broad Street, Ste. 700                                                       Certified Mail
 Newark, NJ 07102                                                                 Other:

 United States Attorney General              Tax Authority                        Hand-delivered
 U.S. Dept. of Justice                                                            Regular mail
 Ben Franklin Station                                                             Certified Mail
 PO Box 683                                                                       Other:
 Washington, DC 20044

 New Jersey Division of Taxation             Tax Authority                        Hand-delivered
 Compliance & Enforcement -                                                       Regular mail
 Bankruptcy Unit                                                                  Certified Mail
 50 Barrack Street, 9th Fl.                                                       Other:
 PO Box 245
 Trenton, NJ 08695-0267




                                                 9
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220 Filed 07/15/20 Entered 07/15/20 17:07:41           Desc Main
                                 Document    Page 10 of 14



 Name and Address of Party Served         Relationship of Party to the Case   Mode of Service

 State of New Jersey                      Tax Authority                        Hand-delivered
 Division of Taxation                                                          Regular mail
 Bankruptcy Unit                                                               Certified Mail
 PO Box 245                                                                    Other:
 Trenton, NJ 08646-0245

 New Jersey Attorney General’s Office     Tax Authority                        Hand-delivered
 Division of Law                                                               Regular mail
 Richard J. Hughes Justice Complex                                             Certified Mail
 25 Market Street                                                              Other:
 PO Box 112
 Trenton, NJ 08625-0112

 New Jersey Department of Labor           Tax Authority                        Hand-delivered
 Division of Employer Accounts                                                 Regular mail
 1 John Fitch Plaza                                                            Certified Mail
 PO Box 389                                                                    Other:
 Trenton, NJ 08611-0389

 New Jersey Dept. of Labor                Tax Authority                        Hand-delivered
   & Workforce Development                                                     Regular mail
 Division of Unemployment & Disability                                         Certified Mail
 Insurance                                                                     Other:
 Bankruptcy Unit
 One John Fitch Plaza
 PO Box 951
 Trenton, NJ 08611-0951

 New Jersey Department of Labor           Tax Authority                        Hand-delivered
 Division of Employer Accounts                                                 Regular mail
 1 John Fitch Plaza                                                            Certified Mail
 PO Box 379                                                                    Other:
 Trenton, NJ 08611-0379

 David H. Stein, Esq.                     Potential Interested Party           Hand-delivered
 Wilentz, Goldman & Spitzer, P.A.                                              Regular mail
 90 Woodbridge Center Drive, Suite 900                                         Certified Mail
 Woodbridge, NJ 07095                                                          Other: E-Mail

 Bruce J. Wisotsky, Esq.                  Potential Interested Party           Hand-delivered
 Norris McLaughlin, P.A.                                                       Regular mail
 400 Crossing Blvd., 8th Floor                                                 Certified Mail
 Bridgewater, NJ 08807-5933                                                    Other: E-Mail




                                             10
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220 Filed 07/15/20 Entered 07/15/20 17:07:41            Desc Main
                                 Document    Page 11 of 14



 Name and Address of Party Served          Relationship of Party to the Case   Mode of Service

 Greg Corbin, President                    Potential Interested Party           Hand-delivered
 Bankruptcy and Restructuring                                                   Regular mail
 Rosewood Realty Group                                                          Certified Mail
 38 E. 29th Street, Fifth Floor                                                 Other: E-Mail
 New York, NY 10016

 Elnardo J. Webster, Esq.                  Potential Interested Party           Hand-delivered
 Joao F. Magalhaes, Esq.                                                        Regular mail
 Inglesino, Webster, Wyciskala & Taylor,                                        Certified Mail
 LLC                                                                            Other: E-Mail
 600 Parsippany Road, Suite 204
 Parsippany, NJ 07054

 Eward An                                  Potential Interested Party           Hand-delivered
 Re/Max Signature Homes                                                         Regular mail
 189 Homans Avenue, Suite C                                                     Certified Mail
 Closter, NJ 07624                                                              Other:

 Douglas Wolf, Esq. – General Counsel      Potential Interested Party           Hand-delivered
 ASM Capital                                                                    Regular mail
 7600 Jericho Turnpike, Suite 302                                               Certified Mail
 Woodbury, NY 11797                                                             Other:

 Matthew Bordwin, Principal & Managing     Potential Interested Party           Hand-delivered
 Director                                                                       Regular mail
 Keen-Summit Capital Partners, LLC                                              Certified Mail
 1 Huntington Quadrangle, Suite 2C04                                            Other:
 Melville, NY 11747

 Robert H. Benacchio, Managing Director    Potential Interested Party           Hand-delivered
 CRP - Commercial Realty Partners LLC                                           Regular mail
 Industrial Brokerage, Development                                              Certified Mail
  & Real Estate Investment                                                      Other:
 55 Carter Drive, Suite 200
 Edison, New Jersey 08817

 Lenard M. Parkins, Esq.                   Potential Interested Party           Hand-delivered
 Kilpatrick Townsend & Stockton LLP                                             Regular mail
 700 Louisiana Street, Suite 4300                                               Certified Mail
 Houston, TX 77002                                                              Other:

 Nicholas W. Minoia, Managing Partner      Potential Interested Party           Hand-delivered
 Diversified Properties, LLC                                                    Regular mail
 Morris Construction Management, LLC                                            Certified Mail
 350 Main Rd., Suite 201                                                        Other:
 Montville , NJ 07045




                                              11
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220 Filed 07/15/20 Entered 07/15/20 17:07:41              Desc Main
                                 Document    Page 12 of 14



 Name and Address of Party Served            Relationship of Party to the Case   Mode of Service

 Saint Clare’s Health System                 Potential Interested Party           Hand-delivered
 Attn: Leslie D. Hirsch - Chairman                                                Regular mail
 400 W Blackwell Street                                                           Certified Mail
 Dover NJ 07801                                                                   Other:

 Acuity Specialty Hospital of New Jersey     Potential Interested Party           Hand-delivered
 Attn: General Counsel                                                            Regular mail
        Kathy Kerstetter, Chief Executive                                         Certified Mail
 Officer                                                                          Other:
 1925 Pacific Ave Suite 5
 Atlantic City, NJ 08401

 Goryeb Children’s Hopsital                  Potential Interested Party           Hand-delivered
 Attn: General Counsel                                                            Regular mail
 100 Madison Avenue                                                               Certified Mail
 Morristown NJ 07960                                                              Other:

 Specialty Hospital of Central Jersey        Potential Interested Party           Hand-delivered
 Attn: General Counsel                                                            Regular mail
       Dan Czermak, Esq., President                                               Certified Mail
 600 River Avenue 4&5 West                                                        Other:
 Lakewood NJ 08701

 New Jersey Hospital Association             Potential Interested Party           Hand-delivered
 Attn: Cathy Bennett, President and CEO                                           Regular mail
 760 Alexander Road                                                               Certified Mail
 Princeton, NJ 08540                                                              Other:

 K. Hovnanian Children’s Hospital            Potential Interested Party           Hand-delivered
 Attn: Kenneth M. Sable, M.D.–                                                    Regular mail
       President, Southern Market                                                 Certified Mail
       Vito Buccellato, Chief Hospital                                            Other:
       Executive
 1945 State Route 33
 Neptune NJ 07753

 St. Joseph’s Children’s Hospital            Potential Interested Party           Hand-delivered
 at St. Joseph’s University Medical Center                                        Regular mail
 Attn: Kenneth J. Slavin, President & CEO                                         Certified Mail
 703 Main Street                                                                  Other:
 Paterson NJ 07503

 Mountainside Hospital                       Potential Interested Party           Hand-delivered
 Attn: General Counsel                                                            Regular mail
 799 Bloomfield Avenue                                                            Certified Mail
 Verona NJ 07044                                                                  Other:




                                                12
4819-2383-7123, v. 1
Case 20-12465-JKS         Doc 220 Filed 07/15/20 Entered 07/15/20 17:07:41               Desc Main
                                 Document    Page 13 of 14



 Name and Address of Party Served             Relationship of Party to the Case   Mode of Service

 Saint Barnabas Medical Center                Potential Interested Party           Hand-delivered
 Attn: Steven Zieniewicz, President and CEO                                        Regular mail
 94 Old Short Hills Road                                                           Certified Mail
 Livingston NJ 07039                                                               Other:

 Jefferson Stratford Hospital                 Potential Interested Party           Hand-delivered
 Attn: Brian Sweeney, Interim President                                            Regular mail
 18 E Laurel Roadd                                                                 Certified Mail
 Stratford NJ 08084                                                                Other:

 Bristol Myers Squibb Children’s Hospital     Potential Interested Party           Hand-delivered
 Attn: John J. Gantner, President & CEO                                            Regular mail
 200 Somerset Street                                                               Certified Mail
 New Brunswick NJ 08901                                                            Other:

 Morristown Medical Center                    Potential Interested Party           Hand-delivered
 Attn: Patricia O’Keefe, Ph.D., R.N.                                               Regular mail
 President                                                                         Certified Mail
 Morristown Medical Center                                                         Other:
 100 Madison Avenue
 Morristown NJ 07960

 Hackensack University Medical Center         Potential Interested Party           Hand-delivered
 Attn: Mark D. Sparta, President                                                   Regular mail
 30 Prospect Avenue                                                                Certified Mail
 Hackensack, NJ 07601                                                              Other:

 Robert Wood Johnson University Hospital      Potential Interested Party           Hand-delivered
 One Robert Wood Johnson Place                                                     Regular mail
 Attn: John Gantner, President & CEO                                               Certified Mail
       Susan J. Flynn-Hollander, Esq. -                                            Other:

   VP-General Counsel
 New Brunswick, NJ 08901

 Jersey Shore University Medical Center       Potential Interested Party           Hand-delivered
 Attn: Kenneth N. Sable,                                                           Regular mail
       Regional President, Southern Market                                         Certified Mail
       Vito Buccellato,                                                            Other:
       Chief Hospital Executive
 1945 Route 33
 Neptune, NJ 07753

 Valley Hospital                              Potential Interested Party           Hand-delivered
 Attn: Audrey Meyers, President & CEO                                              Regular mail
 223 North Van Dien Avenue                                                         Certified Mail
 Ridgewood, NJ 07450                                                               Other:



                                                 13
4819-2383-7123, v. 1
Case 20-12465-JKS          Doc 220 Filed 07/15/20 Entered 07/15/20 17:07:41            Desc Main
                                  Document    Page 14 of 14



 Name and Address of Party Served           Relationship of Party to the Case   Mode of Service

 Robin Goldfischer, Sr. Vice President &    Potential Interested Party           Hand-delivered
 General Counsel, Legal Affairs                                                  Regular mail
 Valley Health System                                                            Certified Mail
 1 Valley Health Plaza                                                           Other:
 Paramus, New Jersey 07652

 Ted Schiller, Esq.                         Potential Interested Party           Hand-delivered
 Schiller, Pittenger & Galvin, P.C.                                              Regular mail
 1771 Front Street                                                               Certified Mail
 Scotch Plains, NJ 07076                                                         Other: E-Mail

 John H. Hajjar, M.D.                       Member of HMOB of Wayne, LLC         Hand-delivered
 90 Hoover Drive                                                                 Regular mail
 Cresskill, NJ 07626                                                             Certified Mail
                                                                                 Other: E-Mail
 Hajjar Wayne Investments, LLC              Member of Hajjar Medical Office      Hand-delivered
 Attn: John H. Hajjar, M.D.                 Building of Wayne, LLC               Regular mail
 15-01 Broadway                                                                  Certified Mail
 Fair Lawn, NJ 07410                                                             Other:

 Jaecals, I, LLC                            Member of Hajjar Medical Office      Hand-delivered
 c/o Jonathan P. Vuotto, Esq.               Building of Wayne, LLC               Regular mail
 McAndrew Vuotto, LLC                                                            Certified Mail
 13 Mt. Kemble Avenue                                                            Other: E-Mail
 Morristown, NJ 07960

 Matthew P. Jordan, Esq., County Counsel    Notice on behalf of County of        Hand-delivered
 Nadege D. Allwaters, Esq., Deputy County   Passaic                              Regular mail
 Counsel                                                                         Certified Mail
 County Counsel                                                                  Other:
 401 Grand Street, Room 214
 Paterson, NJ 07505

 St. Joseph’s Regional Medical Center       Tenant                               Hand-delivered
 c/o Jeffrey T. Testa, Esq.                                                      Regular mail
 McCarter & English,                                                             Certified Mail
 Four Gateway Center                                                             Other: E-Mail
 100 Mulberry Street
 Newark, NJ 07102

 Regent Medical Properties, LLC             Property Manager                     Hand-delivered
 85 Harristown Road, Suite 200                                                   Regular mail
 Glen Rock, NJ 07452                                                             Certified Mail
                                                                                 Other: E-Mail




                                               14
4819-2383-7123, v. 1
